
DIXON, Judge.
This case was consolidated for the purpose of trial with No. 11,322, State of Louisiana, through the Sabine River Authority, State of Louisiana v. Pierce et al., La.App., 230 So.2d 751. Both cases involve the expropriation of tracts of land in DeSoto Parish by the Sabine River Authority. There was judgment in each case in favor of the defendants.
The plaintiff appealed, but, until after the day fixed for submission of the case, made no appearance nor filed any brief.
Under the authority of Rule VII, Section 5(b) of the Uniform Rules of the Courts of Appeal, the appeal should be dismissed. See Benedict v. Stulb, 230 La. 995, 89 So.2d 768.
Appeal dismissed.
